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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division


    UNITED STATES OF AMERICA,                           Case No. 1:20CR239-2
                                                        Honorable T.S. Ellis, III
         v.
                                                        Hearing: Nov. 16, 2021
    EL SHAFEE ELSHEIKH,                                 Trial: Jan. 18, 2022
                    Defendant.


              DEFENDANT’S MOTION TO PRESENT ORAL ARGUMENT

        COMES NOW, El Shafee ElSheikh, by counsel, who requests this Court grant him leave

to present oral argument1 on several motions pending before this Court: the government’s

motion in limine to establish the admissibility of the defendant’s statements pursuant to FRE 104

(ECF No. 96), the government’s motion in limine to establish admissibility of the defendant’s

false identifying statements (ECF No. 97), and defendant’s motion to suppress statements (ECF

No. 100).2

        This Court heard testimony and reviewed evidence presented by the parties in support of

these motions during hearings on November 16, 2021 through November 18, 2021. Because the

evidentiary hearing on November 18th finished late in the evening, Mr. ElSheikh did not have

the opportunity to present oral argument to this Court on the outstanding motions. Mr.

ElSheikh’s written pleadings did not address the evidence heard by this Court during the

evidentiary hearings. Therefore, he wishes to present oral argument on the record to address said

evidence. Further, this Court ruled at several points during the evidentiary hearings that certain



1
  Mr. ElSheikh requests oral argument only and does not believe that additional briefing is
necessary.
2
  Defendant’s motion to dismiss the indictment (ECF No. 106) has been decided by this Court
(ECF No. 152) and defendant’s motion to compel has been resolved.
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information should be presented by the defense through argument, as opposed to questions for

testifying witnesses. Mr. ElSheikh requests the opportunity, as indicated by this Court, to

present oral argument on the pending motions to address evidence presented during the

evidentiary hearings.

       Therefore, Mr. ElSheikh moves this Court to hear oral argument at the next available

opportunity. The government has no objection to the filing of this motion, but it defers to the

Court’s discretion on whether to grant the motion.

                                                     Respectfully Submitted,
                                                     EL SHAFEE ELSHEIKH,
                                                     By Counsel

                                                     _______/s/_____________________
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                                CERTIFICATE OF SERVICE

I hereby certify that on this 30th day of November 2021, I filed the foregoing pleading through
the ECF system, which shall then send an electronic copy of this pleading to all parties in this
action.


                                                     ____/s/________________
                                                     Yancey Ellis, VSB #70970




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